Case 1:11-Cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 1 of 8

IN THE CIRC‘UIT COURT FOR BALTIMORE CITY, MARYLAND
Civil Division

GWENDOL DENISE TAYLOR, et al, *

~M-

adiviauaay and on behalf era case No.: 24-<:-02-001635
Class of consumers similarly situated Honorable .Tolm M. Glyrm

Plaintift`s,
v.

WELLS FARGO HOME
MORTGAGE *

Defendant. *

FINAL ORDER APPROV]NG SETTLELENT AND
CERT]FYING SETTLEL[ENT CLASS

Upon review and consideration of the Settlement Agreernent dated January 22, 2010, by
and between the Plaintift`s Gwendol Taylor and Gail Thompson (acting individually and on
behalf of the Class deEned below - hereinafter referred to as “Named Plaintiffs”) and
Defendant, the memoranda and arguments of counsel, and the lack of any objections to the
settlement

IT IS HE'.REBY ORDERED and adjudged as follows:

l. Pursuant to MD. RULE 2-231, the settlement of this action, as embodied in the
terms of the Settlernent Agreement dated Jannary 22, 2010, is hereby finally approved as a fajr,
reasonab]e, and adequate settlement of this ease in light of the factual, legal, practical and
procedural considerations raised by this case. The Settlement Agreement is incorporated by
reference into this Order (with capitalized terms as set forth in the Settlement Agreement) and is

hereby adopted as an Order of this Court. ln the event of a conflict between the text of this Order

Case 1:11-Cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 2 of 8

and the text of the Settlement Agreenient, the text of the Settlernent Agreement Shall prevail.
2. For the purpose of settlement, as addressed timber below, pursuant to MD. RULE
2-23](a) and Cb){B), the Ccnrt hereby ina]}y certifies the following Class defined as follows:

A_ll consumers on the list of 14,210 transactions that Wells Fargc
produced on or about September 15, 2009, who entered into mortgage
loan transactions concerning property located in Maryland where: (l)
the Mortgage Broker is also identified as the mortgage lender in the
operative documents relating to the transaction; (2) the Mortgage l
Broker received a iinder’s fee as that term is denned in Md. Com.
Law Code Ann. §12»801(0); and (3) Wells Fargo funded the mortgage
loan at settlement

Excluded nom the Settlernent Class are all fenner and present
directors, officers and agents as well as all current employees of the
Scttling Defendant_
3. The Court nnds that notice previously given to borrowers and co-borrowers who
Were involved in approximately 14,210 transactions with the Defendant, was the best notice
practicable under the circumstances and satisfies the requirements of due process and MD. RULE
2-231. The Court further finds that of the transactions that potentially met the class delinition, all
borrowers in these transactions meet the class dennition approved above.
4. The Court appoints Named Plaintift`s as Representative Plaintiffs of the Class and
inds that each of them meets the requirements of MD. RULE 2-231.
5. The Co\nt appoints the following lawyers as Class Counsel, and finds that these “
counsel meet the requirements ofMD. RULE 2~231:
Richard S. Gordon
Benj arnin H. Carney
QUINN, GORDON & WOLF, CHTD.

102 West Pennsylvania Avenue, Suite 402
Baltimore, MD 21204-4803

Case 1:11-cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 3 of 8

Nevett Steele, Jr.
P.O. Box 128
211 Central Avenue
Glyndon, Maryl and 21071
Phillip Rcbinson
CIVIL .TUSTICE, lNC.
520 West Fayette Street
Ba.ltirnore, Maryland 21201
Richard S. Gordon is hereby appointed as Lead Counsel for the Class.

6. The Court further iinds that, in accordance with paragraphs 1 and 2 of this Order,
all the requirements for class certification are met in this case:

a. The Prerequisites chD. RULE 2~231:

MD. RULE 2-231(a) requires the following four threshold elements be met in order for a
class to qualify for certiiication: (1) the class is so numerous that joinder of all members is
impracticable; (2) there are questions of law or fact common to the class; (3) the claim or
defenses of the representative parties are typical of the claims or defenses of the class; and (4) the
representative parties will fairly and adequately protect the interests of the class.

MD. R_IJLE 2-231(3`;(1) (nu!_nerositv): The proposed Class in this action consists of

borrowers in 14,210 transactions whose loans were table funded by Wells Fargo; i.e.,

the borrowers entered into mortgage loan transactions concerning property located in

Maryland where: (l) the Mortgage Broker is also identitied as the mortgage lender in

the operative documents relating to the transaction; (2) the Mortgage Brolcer

received a inder’s fee as that tenn-is defined in Md. Com. Law Corle A.nn, §12-

801 (c); and (3) Wells Fargo funded the mortgage loan at settlement

Case 1:11-cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 4 of 8

The Settlement Class excludes: all former and present directors, officers and agents
as well as all current employees of Wells Fargo. This Conrt finds that more than
14,200 transactions meet this deiinition and, therefore, the Class is so numerous that
joinder would be impracticable in this case. Thus, the Conrt finds that the
numerosity requirement under MD. RULE 2-23 1 (a)(l) is satisfied
MD. RUL§ 2-231(11)(2) (commonality of facts and law[: Plaintift`s allege that the
mortgage broker in their transactions acted as both a broker and a lender, and took a
finder’s fee, and that Wells F argo conspired With mortgage brokers to do so.
Plaintiffs assert that this failure constituted a conspiracy to violate, and violated,
Ma.ryland’s Finder’s Fee Act, MD. CODE ANN. COMM. L. §§12-801 , etseq. Plaintift`s
further assert that such a practice also constituted conspiracy to violate, and violated
Maryland’s Consumer Protection Act, MD. CoDE ANN., COMM. LAW § 13»101 et seq.
The Court finds that a determination of the legality of the Defcndant’s practices
concern common questions of law and fact. As such the Conrt finds the requirements
of MD. RULE 2-231 (a)(2) are satisfied l
MD. RULE 2-231{a113) §§micality of claims and defenses): This factor focuses on
the consideration of whether the representative’s interests are truly aligned and
consistent with those ofthe C]ass Members. In this case, the Plaintiffs’ claims are
identical to the claims of every other Class Member. Furthermore, the defenses to
liability, ifany, are similar as to every Ciass member. Thns, the Court nnds that the

requirement of typicality under MD, RULE 2-231(a)(3) is satisfied

Case 1:11-cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 5 of 8

MULE 2-231(3)(4} (adenu_ate representation): The Plaintifi`s’ claims are not

conflicting or inconsistent with any Class Members’ claims Moreover, the Court

finds that Plaintift`s are represented by able counsel with extensive experience in class

action litigation, who have adequately represented the interests of the Class. Thus,

the Court finds that the requirement of adequate representation under MD. RULE 2-

231(a)(4) is satished.

b. Requirement_§ of MD. RULE 2-231(b):

After the requirements of MD. RULE 2-231(a) are found to exist, the Court must determine
pursuant to MD. RULE. 2-23l(b) whether this case may be maintained as a class action under MD.
RULE 2~231(b)(1), (b)(Z) or (b)(S). Without considering whether the Settlement Class in this
case satisfies the criteria for MD. RULE 2-231(b)(1) and (b)(2), this Court finds that the
requirements for MD. RULE 2-231 (b)(3) are met here.

MD. RULE 2-231§§1!3): In particular, this Court iinds that the allegations in this

case focus on a uniform and consistent scheme and that there are common, over-

riding legal claims held by all Class members regarding the legality of the collection

of tinder’s fees in transactions where the mortgage broker acted as both the mortgage

broker and the lender, and the legality of conspiring to do so. The Court further Ends

that the pursuit of numerous individual cases which would be essentially identical,

would be a Waste of judicial time and resources ln` summary, common questions

predominate over individualized questions and a class action suit is the superior

vehicle to efficiently adjudicate this lawsuit Certitication under MD. RULE 2-

Case 1:11-Cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 6 of 8

231(b)(3) is, therefore, appropriate

7. A_fter due consideration ot` the Named Plaintiffs’ and the Class’ likelihood of
success at trial; the range ofNamed Plaintiil`s’ and the Class’ possible recovery; the range of
possible recovery at Which a settlement is fajr, adequate, and reasonable; the complexity, expense
and duration of the litigation; the lack of opposition to the settlement; and the state of
proceedings at which the settlement was achieved; the lack of any timely objections; all written
submissions; affidavits and arguments of counsel; and after notice and ahearing; this Court Hnds
that the settlement is fair, adequate, and reasonable Accordingly, this Agreement should he and
is approved and shall govern all issues regarding the settlement and all rights of the parties to this
settlement, including the Class Members. Each Class Member shall be bound by the Agreement,
including the releases in the Settlement Agreement, which is hereby incorporated by reference
and becomes part of the inal judgment in this action

8. The parties are hereby OKDERED promptly to carry out their respective
obligations under the Settlement Agreernent and Tilghrnan &. Co. P.C. is hereby D]RECTBD to
make payments to Class Mernbers under the Settlement Agreement consistent with the terms of
the Settlement Agreemcnt.

9. No later than forty-§ve (45) days after the Execution Date, as set forth in the
Settlement Agreement, the Settlement Administrator shall certify to the Court and counsel that
all settlement checks have been mailed to all Class members in accordance with the formula set
forth in, and terms of, the Settlement Agreement.

10. ln accordance with the Sett]ement Agreement, within ten (10) calendar days after

Case 1:11-Cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 7 of 8

the Effectlve Date, as defined in the Settlement Agreement, Tilghman & Co. P.C. shall pay, or
take all reasonable steps to transfer, assign or release the following nmds, out of the Settlement
Fund, to the Trust Account of Quinn, Gordon & Wolf, Chtd, lead Plaintiffs’ Counsel:
(i)' Attorneys’ fees equal to one-third of the Common
Fund as set forth in the Settlement Agreement, to be distributed

among Class Counsel in accordance with their agreement

(ii) litigation expenses totaling $4,556.02, to he
distributed among Class Counsel in accordance with their agreement

(iii) Incentive payments totaling $lO,()OO for the Named
Plaintiffs to award the Named Class Representatives for their
participation in this action.

ll. No later than 160 days after the Effective Date, the Settlement Administrator shall
submit a report and accounting to the Court and to Class Counsel and counsel for Defcndant as to
the distribution of the Settlement Pund.

12. The Court hereby approves the protocol for distributing the unclaimed settlement
funds set forth in 1{23 of the Settlernent Agreement as fair, reasonable, and warranted under the
circumstances In accordance with 1123 ofthe Settlement Agreement, any residue of the
Settlement Fund remaining alter 120 days from the date of mailing checks to Class Members
pursuant to 115 of the Settlement Agreement shall create a cy pres iimd. The cy pres fund shall
be donated as follows: (]) the iirst $75,000 of the cy pres iimd shall be paid to St. Vinccnt de
Paul of Baltimore; (2) the next $25,000 of the cy pres fund shall be paid to Our Dai]_y Bread; and
(3) the balance of the cy pres fund shall be paid to Comprehensive Housing Assistance, lnc.

(CHAI) (collectively the “cy pres recipients”). Within 140 days after the checks are mailed to the

class members under 117 of the Settlement Agreemcnt, Tilghrnan & Co., P.C. shall pay the cy

Case 1:11-Cv-00667-.]KB Document 20-3 Filed 04/11/11 Page 8 of 8

pres recipients as set forth in the 'Settlernent Agreernent

13. Subject to the exceptions and limitations set forth in the Settlement Agreement,
all Released Claims of each Class Member are hereby dismissed With prejudice as to the
Released Persons (as those terms are denned in the Settlement Agreement).

14. This Court retains jurisdiction of all matters relating to the interpretation,
administration, implementation, effectuation, and enforcement ofthe Settlernent Agreement.
The Court further retains jurisdiction to enforce this Order entered this day.

BY ORDER OF THE COURT

 
      

//"i¥ "
the/sammie John M. clyna
Cireuit Court for Baltimore City, Maryland

ila if
Dated: é_[/’”'j /Y ,2010

